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                      Exhibit 21
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                                                                          Page 1
          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO           )   MDL No.: 2593
(RIVAROXABAN) PRODUCTS   )   Section: L
LIABILITY LITIGATION     )   Judge Eldon E. Fallon
                         )   Mag. Judge North
                         )
                         )
                         )
                         )
JOSEPH J. BOUDREAUX,     )   Case No.:   14-cv-2720
JR., ET AL               )




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  Videotaped Deposition of CINDY A. LEISSINGER,

M.D., taken on Thursday, December 8, 2016, in the

office of The Lambert Firm, A.P.L.C., 701 Magazine

Street, New Orleans, Louisiana 70130, commencing

at 2:10 p.m.




Reported by:
AURORA M. PERRIEN
CERTIFIED COURT REPORTER
REGISTERED PROFESSIONAL REPORTER




      Golkow Technologies,                 Inc - 877.370.3377

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                                                                              Page 4
 1                  A P P E A R A N C E S
 2   REPRESENTING JOSEPH J. BOUDREAUX, JR. AND
     LORETTA BOUDREAUX:
 3
               SCHLICHTER, BOGARD & DENTON, L.L.P.
 4             BY: ROGER DENTON, ESQ.
               100 South 4th Street, Suite 1200
 5             St. Louis, Missouri 63102
               314.621.6115
 6             Rdenton@uselaws.com
 7             BARRIOS, KINGSDORF & CASTEIX, L.L.P.
               BY: EMMA E. KINGSDORF, ESQ.
 8             701 Poydras Street, Suite 3650
               New Orleans, Louisiana 70139-3650
 9             504.524.3300
               Ekingsdorf@bkc-law.com
10
11
12   REPRESENTING JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN RESEARCH & DEVELOPMENT, L.L.C., JANSSEN
13   ORTHO, L.L.C.:
14          IRWIN, FRITCHIE, URQUHART & MOORE,
            L.L.C.
15          BY: KIM E. MOORE, ESQ.
            400 Poydras Street, Suite 2700
16          New Orleans, Louisiana 70130-3280
            504.310.2108
17          Kmoore@irwinllc.com
18          IRWIN, FRITCHIE, URQUHART & MOORE,
            L.L.C.
19          BY: JEANETTE F. MILLS, ESQ.
            400 Convention Street, Suite 1001
20          Baton Rouge, Louisiana 70802
            504.310.2100
21          Jmills@irwinllc.com
22          BARRASSO, USDIN, KUPPERMAN, FREEMAN &
            SARVER, L.L.C
23          BY: ANDREA M. PRICE, ESQ.
            909 Poydras Street, 24th Floor
24          New Orleans, Louisiana 70112
            504.589.9700
25          Aprice@barrassousdin.com

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                                                                              Page 5
 1
      REPRESENTING BAYER HEALTHCARE PHARMACEUTICALS,
      INC., and BAYER PHARMA AG:
 2

                 KAYE SCHOLER, L.L.P.
 3
                 BY: JULIE B. duPONT, ESQ.
                 250 West 55th Street
 4
                 New York, New York 10019-9710
                 212.836.8572
 5
                 Julie.dupont@kayescholer.com
 6

 7

      ALSO PRESENT:
 8

                 MELISSA BARDWELL, VIDEOGRAPHER
 9

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                                                                           Page 214
 1
      have had a shorter hospitalization stay?
 2
                  MR. DENTON:
 3
                        Object to the form.
 4
                  THE WITNESS:
 5
                        That, I -- I really -- you know, I --
 6
                  I couldn't say one way or the other.                          I
 7
                  mean, certainly we'd always like to catch
 8
                  somebody earlier rather than later so they
 9
                  don't get as anemic, as -- as at risk
10
                  of -- of other problems.               But yeah, I
11
                  mean, how long his hospitalization would
12
                  have been, I -- you know, I couldn't --
13
                  couldn't answer.
14
      BY MS. duPONT:
15
            Q.    You've said several times today that it's
16
      your opinion that you can't monitor patients on
17
      Xarelto.       Is that an accurate representation of
18
      your --
19
            A.    That we --
20
            Q.    -- summary?
21
            A.    That's -- that is an accurate
22
      representation, that we cannot adequately monitor
23
      patients on Xarelto.
24
            Q.    So you could not have used PT to monitor
25
      Mr. Boudreaux.          Fair?

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                                                                           Page 215
 1
                  MR. DENTON:
 2
                        Object to the form.
 3
                  THE WITNESS:
 4
                        With our current knowledge and lack of
 5
                  validation studies, we really can't.                          But
 6
                  there is a lot of evidence that -- that
 7
                  PT, particularly using certain reagents,
 8
                  could be adapted for use as a monitoring
 9
                  tool.      Now, again, that's with proper
10
                  study and proper validation, etcetera.
11
                  And we -- we don't have that.                  That has
12
                  not been done.          That information's not
13
                  available to us as physicians.
14
      BY MS. duPONT:
15
            Q.    So in 2014, when Mr. Boudreaux was
16
      prescribed Xarelto, you could not have used PT to
17
      monitor him?
18
                  MR. DENTON:
19
                        Well --
20
                  THE WITNESS:
21
                        I --
22
                  MR. DENTON:
23
                        -- object to --
24
      BY MS. duPONT:
25
            Q.    Fair?

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                                                                           Page 216
 1
                   MR. DENTON:
 2
                         -- the form.
 3
                   THE WITNESS:
 4
                         I agree with that.
 5
      BY MS. duPONT:
 6
             Q.    You said earlier that there needs to be a
 7
      disruption or some sort of injury in the GI tract
 8
      in order for there to be a bleed; correct?
 9
                   MR. DENTON:
10
                         Object to --
11
                   THE WITNESS:
12
                         "Injury" might be too strong a word,
13
                   but a disruption of some sort, you know,
14
                   caused by -- and, you know, again, a GI
15
                   doc could probably speak to this better
16
                   than I can.
17
                         But when -- when -- when we begin to
18
                   lose blood, it's because there is a
19
                   disruption in the -- the -- the blood
20
                   vessel -- the -- the wall of the blood
21
                   vessel that allows blood to escape.                         So,
22
                   you know, something had to disrupt it.
23
                   Could it be something as simple as food
24
                   passing through or -- or material passing
25
                   through the GI tract?              I mean, again, you

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                                                                           Page 236
 1
                             C E R T I F I C A T E
 2
           This certification is valid only for
 3
      a transcript accompanied by my original signature
 4
      and original seal on this page.
 5
           I, AURORA M. PERRIEN, Registered Professional
 6
      Reporter, Certified Court Reporter, in and for the
 7
      State of Louisiana, as the officer before whom
 8
      this testimony was taken, do hereby certify that
 9
      CINDY A. LEISSINGER, M.D., after having been duly
10
      sworn by me upon the authority of R.S. 37:2554,
11
      did testify as hereinbefore set forth in the
12
      foregoing 235 pages; that this testimony was
13
      reported by me in the stenotype reporting method,
14
      was prepared and transcribed by me or under my
15
      personal direction and supervision, and is a true
16
      and correct transcript to the best of my ability
17
      and understanding; that the transcript has been
18
      prepared in compliance with transcript format
19
      guidelines required by statute or by rules of the
20
      board; and that I am informed about the complete
21
      arrangement, financial or otherwise, with the
22
      person or entity making arrangements for
23
      deposition services; that I have acted in
24
      compliance with the prohibition on contractual
25
      relationships, as defined by Louisiana Code of

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                                                                           Page 237
 1
      Civil Procedure Article 1434 and in rules and
 2
      advisory opinions of the board; that I have no
 3
      actual knowledge of any prohibited employment or
 4
      contractual relationship, direct or indirect,
 5
      between a court reporting firm and any party
 6
      litigant in this matter nor is there any such
 7
      relationship between myself and a party litigant
 8
      in this matter.           I am not related to counsel or to
 9
      the parties herein, nor am I otherwise interested
10
      in the outcome of this matter.
11

12

13

14

15
                           AURORA M. PERRIEN, CCR, RPR
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